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     Attorney for Plaintiff
 5

 6
                                  UNITED STATES DISTRICT COURT
 7
                                        DISTRICT OF NEVADA
 8
     KIMBERLY OREN,                                    )
 9
                                                       ) Case No.: 319-cv-00212-APG-CBC
                    Plaintiffs,                        )
10
                                                       )
            v.                                         )
11
                                                       ) JOINT STIPULATION OF DISMISSAL
                                                       ) WITH PREJUDICE
12
                                                       )
     CAPITAL ONE BANK (USA) N.A.,                      )
13
                                                       )
                    Defendant.                         )
14
                                                       )
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            Plaintiff KIMBERLY OREN (“Plaintiff”) and Defendant CAPITAL ONE BANK (USA),
17
     N.A. (“Defendant”), pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate
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     to the dismissal of all of Plaintiff’s claims in this action against Defendant WITH PREJUDICE,
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     with each party to bear its own costs and fees.
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            Respectfully submitted the 19th day of November 2019.
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                                    JOINT STIPULATION OF DISMISSAL
          Case 3:19-cv-00212-APG-CLB Document 21 Filed 11/19/19 Page 2 of 3




     /s/ Lindsay C. Demaree (with permission)   /s/ Mathew Higbee
 1   Lindsay C. Demaree- Nevada Bar No. 11949   Mathew Higbee
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 5   ATTORNEY FOR DEFENDANT                     ATTORNEY FOR PLAINTIFF

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                                            IT IS SO ORDERED.
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12
                                            UNITED STATES DISTRICT JUDGE
13                                          DATED:___________________________
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                                JOINT STIPULATION OF DISMISSAL
           Case 3:19-cv-00212-APG-CLB Document 21 Filed 11/19/19 Page 3 of 3




 1                                  CERTIFICATE OF SERVICE

 2          I certify that on November 19, 2019, I filed the foregoing JOINT STIPULATION OF

 3   DISMISSAL WITH PREJUDICE was filed using the CM/ECF system, which will provide
 4
     notice to the following:
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                                   JOINT STIPULATION OF DISMISSAL
